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              IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF SOUTH CAROLINA
                      CHARLESTON DIVISION


   IN RE: AQUEOUS FILM-FORMING               MDL No. 2:18-mn-2873-RMG
   FOAMS PRODUCTS LIABILITY
   LITIGATION                                  This Document relates to
                                                     ALL CASES


            DEFENDANTS’ OMNIBUS MEMORANDUM OF LAW
IN SUPPORT OF THEIR MOTION FOR PARTIAL SUMMARY JUDGMENT ON THE
 FIRST ELEMENT OF THE GOVERNMENT CONTRACTOR IMMUNITY DEFENSE
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                                       INTRODUCTION

       Since the 1960s, the Department of Defense has purchased aqueous film-forming foam

(“AFFF”) from private contractors that manufactured it in accordance with DoD’s particularized

Military Specifications (“MilSpec”). MilSpec AFFF extinguishes dangerous hydrocarbon fuel-

based fires more rapidly and effectively than any available alternative, and it has saved countless

military and civilian lives and property likely worth billions of dollars. Because mere seconds can

mean the difference between life and death, the government still mandates its use today.

       DoD wrote the MilSpec establishing specific parameters for AFFF more than 50 years ago

and has amended and revised it a dozen times since. From the very first version of MIL-F-24385

that DoD issued in 1969, the military required MilSpec AFFF to contain “fluorocarbon

surfactants.” Fluorocarbon surfactants are per- and poly-fluoroalkyl substances (“PFAS”), which

are chemicals distinguished by their carbon-fluorine bonds, among the strongest in chemistry. No

one disputes that MilSpec AFFF is mission-critical for the military and that its fluorocarbon

surfactant components are essential to making the product work as dictated by the MilSpec.

       In a substantial majority of the cases in this MDL, Plaintiffs bring claims for injuries they

allege were caused by the government’s use of MilSpec AFFF. Although Plaintiffs’ allegations

vary widely, their core allegation appears to be that the fluorocarbon surfactant components of

MilSpec AFFF were defective because they contained “long-chain” PFAS (generally featuring a

chain of eight or more fluorine-bonded carbons), specifically perfluorooctanoic acid (“PFOA”),

perfluorooctane sulfonic acid (“PFOS”), and/or other PFAS that Plaintiffs allege break down into

PFOS or PFOA. See infra n.3.

       The Fourth Circuit and other federal courts have repeatedly held that the government

contractor defense (“GCD”) set forth in Boyle v. United Technologies Corp., 487 U.S. 500 (1988),

shields contractors from liability for damages allegedly caused by products meeting

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specifications—like the AFFF MilSpec—that DoD issued to achieve military objectives. Pursuant

to CMO No. 16C, this motion addresses only the first element of the GCD: whether the government

“approved reasonably precise specifications” for MilSpec AFFF. Boyle, 487 U.S. at 512. As this

Court has noted, this element of the GCD is not defendant specific. Rather, the sole question is

whether the AFFF MilSpec itself is “reasonably precise.” Under two independent tests that the

Fourth Circuit developed to address the “reasonably precise” element,1 as a matter of law, the

AFFF MilSpec satisfies this first element.

       First, the AFFF MilSpec is “reasonably precise” on its face. DoD issued and reissued a

military specification for AFFF—continuously for fifty years—in which DoD set out numerous

detailed requirements, including that MilSpec AFFF must: contain “fluorocarbon surfactants”

(explicitly until 2019, and implicitly thereafter); have certain chemical and physical properties

(including properties inextricably connected to the fluorocarbon surfactants in AFFF, such as film

formation); and satisfy rigorous standards for fire extinguishment performance that can only be

met with certain types of fluorocarbon surfactants. In fact, the only AFFF products that have been

able to meet the MilSpec have contained or may break down into some amount of PFOA or PFOS.

DoD recognizes this in the current MilSpec itself, which provides that MilSpec AFFF may still

contain up to 800 ppb (or 800,000 ppt) of PFOA and/or PFOS.

       Second, the uncontroverted evidence demonstrates that the government continued to

specify, purchase, and use MilSpec AFFF containing PFOA and/or PFOS long after it had

investigated and become aware of the very alleged hazards that Plaintiffs claim in these cases.


1
 An MDL court applies the federal law of the circuit in which it is located. See In re Korean Air
Lines Disaster, 829 F.2d 1171, 1174–76 (D.C. Cir. 1987), aff’d, 490 U.S. 122 (1989); Allen v.
Pfizer, Inc., 2016 WL 7338595, at *2 (D.S.C. Jan. 15, 2016) (citing Bradley v. United States, 161
F.3d 777, 782 n.4 (4th Cir. 1998)). Because the GCD is a federal-law doctrine, Fourth Circuit law
controls.

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Even today, following years of litigation focused on the alleged hazards of PFOA and PFOS, DoD

continues to purchase and use MilSpec AFFF that contains the long-chain PFAS about which

Plaintiffs complain.

        Under each of these two independently sufficient tests, the AFFF MilSpec satisfies the first

element of Boyle as a matter of law. Defendants therefore respectfully request that the Court enter

partial summary judgment on this Boyle factor.

                       STATEMENT OF THE NATURE OF THE CASE

        On December 7, 2018, the Judicial Panel on Multidistrict Litigation created this MDL to

centralize cases “alleg[ing] that AFFF products . . . caused the release of PFOA or PFOS.” In re

AFFF Prods. Liab. Litig., 357 F. Supp. 3d 1391, 1394 (J.P.M.L. 2018). Among the common issues

that the JPML identified was Defendants’ “government contractor defenses.” Id. This Court

ordered the parties to limit this motion to “the first [Boyle] factor of demonstrating government

contractor immunity.” CMO No. 16C ¶ 1, ECF No. 1950.

                                     LEGAL STANDARDS

I.      Partial Summary Judgment Standard.

        A party may move for partial summary judgment under Rule 56 to obtain a “pretrial

adjudication that certain issues shall be deemed established for the trial of the case.” Fed. R. Civ.

P. 56 advisory committee’s note to 1946 amendment. Like full summary judgment, partial

summary judgment should be granted “if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);

see, e.g., Carlson v. Bos. Sci. Corp., 856 F.3d 320, 324 (4th Cir. 2017).

        Federal courts, including the Fourth Circuit, regularly affirm summary judgment for

defendants on the GCD. See, e.g., In re Agent Orange Prod. Liab. Litig., 517 F.3d 76, 87–102 (2d

Cir. 2008) (affirming summary judgment on GCD); Ramey v. Martin-Baker Aircraft Co., 874 F.2d

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946, 946 (4th Cir. 1989) (same); Kleemann v. McDonnell Douglas Corp., 890 F.2d 698, 700 (4th

Cir. 1989) (same). Summary judgment “serves the useful purpose of disposing of meretricious,

pretended claims before the court and parties become ‘entrenched in frivolous and costly trial.’”

Richland-Lexington Airport Dist. v. Atlas Props., Inc., 854 F. Supp. 400, 408 (D.S.C. 1994)

(quoting Donahue v. Windsor Locks Bd. of Fire Comm'rs, 834 F.2d 54, 58 (2d Cir. 1987)) (granting

defendants summary judgment on GCD).

II.    The Government Contractor Immunity Defense preserves the government’s exclusive
       discretion to set requirements for military equipment.

       The Supreme Court formally articulated the elements of the GCD in Boyle v. United

Technologies Corp. The Court held that “the procurement of equipment by the United States is an

area of uniquely federal interest,” 487 U.S. at 507, and a “state law which holds Government

contractors liable for design defects in military equipment does in some circumstances present a

‘significant conflict’ with federal policy and must be displaced.” Id. at 512. The GCD thus shields

contractors from liability for claims based on alleged defects in products manufactured for the

federal government.

       The defense derives from the government’s own discretionary function immunity, which

reaches its apex when a case involves military equipment. See id. at 505, 512. This is because in

such a case, the federal interest at stake is not just that “the government’s ‘work’ gets ‘done,’” but

also that a civilian court not interfere in the military’s “ability to pursue American military

objectives.” In re Agent Orange Prod. Liab. Litig., 517 F.3d at 96–97 (quoting Boyle, 487 U.S. at

505); Kleemann, 890 F.2d at 701.

       In this regard, the GCD respects and preserves separation of powers. “The judicial branch

is by design the least involved in military matters” and is “ill equipped to make military

judgments.” Tozer v. LTV Corp., 792 F.2d 403, 405, 408 (4th Cir. 1986). The GCD is essential


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to preventing courts and juries from “second-guessing” the military’s discretionary procurement

decisions, Boyle, 487 U.S. at 511, “given the complexities of military decision making and the

constitutional delegation of the war powers to the legislative and executive branches,” Ripley v

Foster Wheeler LLC, 841 F.3d 207, 210 (4th Cir. 2016).

       Boyle springs from the fundamental principle that it “makes little sense to insulate the

Government against financial liability” for a mission-critical product like AFFF “when the

Government produces the equipment itself, but not when it contracts for the production.” Boyle,

487 U.S. at 512. A “higher risk of liability for government contractors would increase costs to the

government while decreasing the supply of contractors and research and development in military

equipment.” Ripley, 841 F.3d at 210. Thus, “[a]pplication of ordinary tort law to military design

and procurement decisions is not appropriate, for the government ‘is required by the exigencies of

our defense effort to push technology towards its limits and thereby incur risks’” that may be

unacceptable for ordinary consumer goods. Harduvel v. Gen. Dynamics Corp., 878 F.2d 1311,

1316 (11th Cir. 1989) (quoting Tozer, 792 F.2d at 406).

III.   The first element of the Government Contractor Immunity Defense is met when the
       government “approved reasonably precise specifications.”

       In Boyle, the Supreme Court held that the GCD immunizes government contractors

whenever “(1) the United States approved reasonably precise specifications; (2) the equipment

conformed to those specifications; and (3) the supplier warned the United States about the dangers

in the use of the equipment that were known to the supplier but not to the United States.” 487 U.S.

at 512. The Court explained that the first element is intended to “assure that the design feature in

question was considered by a Government officer, and not merely by the contractor itself.” Id.

“There are two routes” for contractors to satisfy “the first prong of the Boyle test.” Ramey, 874

F.2d at 950.


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        As the Fourth Circuit explained in Ramey, 874 F.2d at 950, the first test—developed in

Tozer—examines the totality of the circumstances to determine whether the government

established “reasonably precise specifications.” Tozer, 792 F.2d at 407–08 (citation omitted)).

The Tozer test does not set a high bar: Contractors can satisfy the test merely by demonstrating

“genuine governmental participation in the design” that amounts to more than a rubber stamping.

Id. at 408. In circumstances like those present here, when the government itself issues a reasonably

precise specification for the product, the Boyle requirement is satisfied. Ramey, 874 F.2d at 950

(holding that Boyle’s first element was met when “[t]he Navy issued the original design

specifications”); Carley v. Wheeled Coach, 991 F.2d 1117, 1125 (3d Cir. 1993) (first Boyle

element was met “‘when the government itself created and approved the specifications’” (citation

omitted)).

        Boyle also emphasized that a court cannot “penalize” a contractor simply because it

participated in the design process and thereby “deter[] active contractor participation in the design

process, placing the contractor at risk unless it identifies all design defects.” Boyle, 487 U.S. at

513. In fact, contractor “participation in design is essential to the development of a military force

that is competitively equipped.” Tozer, 792 F.2d at 407. Thus, because the “design ultimately

selected may well reflect a significant policy judgment by Government officials whether or not the

contractor rather than those officials developed the design,” Boyle, 487 U.S. at 512, the GCD does

not require the government to set out an exact “recipe” or blueprint for a product. Rather, examples

abound where courts have granted summary judgment to contractors that retained discretion over

the design of government-specified products.2



2
 See Oliver v. Oshkosh Truck Corp., 96 F.3d 992, 999 (7th Cir. 1996) (“Nor does the fact that
Oshkosh may have retained some discretion to position the fuel tanks and exhaust system within


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       As the Fourth Circuit also explained in Ramey, 874 F.3d at 950, there is an alternative way

to satisfy Boyle’s initial requirement: by showing that the government continued to purchase or

use a product after it became aware that the product included the allegedly defective feature. Dowd

v. Textron, Inc., 792 F.2d 409, 411–12 (4th Cir. 1986) (per curiam); Ramey, 874 F.2d at 950–51.

This Dowd test examines the “length and breadth of the [military’s] experience” with the product

and “its decision to continue using it.” Dowd, 792 F.2d at 412. If the government continues using

a product “[w]ith knowledge of its alleged design defect,” then “the Government approved

reasonably precise specifications for that product such that the manufacturer qualifies for the

military contractor defense for any defects in the design of that product.” Lewis v. Babcock Indus.,

985 F.2d 83, 89 (2d Cir. 1993). As with the Tozer test, cases using the Dowd method of satisfying

Boyle’s first element are numerous. See, e.g., Brinson v. Raytheon Co., 571 F.3d 1348, 1353–54

(11th Cir. 2009); In re Agent Orange Prod. Liab. Litig., 517 F.3d at 92–97; Lewis, 985 F.2d at 89;

Dowd, 792 F.2d at 412; Gauthreaux v. United States, 694 F. Supp. 2d 460, 467 (E.D. Va. 2009).

       The Second Circuit’s decision in the Agent Orange MDL—which, like this case, involved




the envelope permitted by the specifications, standing alone, defeat the government contractor
defense.”); Carley, 991 F.2d at 1125 (“[T]he government need not deprive the manufacturer of all
discretion pertaining to a particular design feature in order for the government contractor defense
to apply.”); Glassco v. Miller Equip. Co., 966 F.2d 641, 643 (11th Cir. 1992) (“[T]he mere fact
that the [government] figures for width and thickness are designated as minimums does not render
the specifications imprecise.”); Gauthreaux v. United States, 694 F. Supp. 2d 460, 466 (E.D. Va.
2009) (“[I]n order for the government’s specifications to be ‘reasonably precise’ under the defense,
the government need not detail every single detail that it did not want included in the design.”);
Szigedi v. Ensign-Bickford Co., 2002 WL 32086774, at *6 (M.D.N.C. July 15, 2002) (“It is
necessary only that the government approve, not create, the specifications. . . . However, the
government need not deprive the manufacturer of all discretion pertaining to a particular design
feature in order for the government contractor defense to apply.”), report and recommendation
adopted, 2003 WL 2003510 (M.D.N.C. Apr. 10, 2003); Yeroshefsky v. Unisys Corp., 962 F. Supp.
710, 718–19 (D. Md. 1997) (“reasonably precise specifications [require] only government
approval, not government preparation, of the specifications,” and do not require the government
to “exercise discretion with regard to the specific feature alleged to be defective”).

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a chemical product the military designated as mission critical—is particularly instructive. The

military purchased the herbicide Agent Orange from private contractors pursuant to certain

contractual specifications. 517 F.3d at 83. Plaintiffs alleged that Agent Orange contained trace

amounts of dioxin (a cancer-causing chemical that was not set forth in the specifications) as a

result of the contractors’ manufacturing process. The Second Circuit affirmed summary judgment

for the contractors under the GCD, holding that the government continued to order and use the

product after it had investigated and become aware of the presence of dioxin and its potential

toxicity. Id. at 92, 94–95. This was despite the facts that: Agent Orange resembled “off-the-shelf,

commercially available herbicides” that featured less potent concentrations of Agent Orange’s

active ingredients, id. at 90; the component chemicals “were not developed for military use in the

first instance,” id. at 91; the government’s specifications were “silent regarding the method of

manufacture,” id. at 93; and plaintiffs had alleged that a process existed that could have produced

a dioxin-free alternative, id. at 93–94. The Second Circuit held that because the Army “examined

the toxicology data available to it” and still “continued to order Agent Orange,” any “‘imposition

of liability under state law would constitute a significant conflict with the [g]overnment’s decision’

that the defoliants used in Vietnam as they were produced by the defendants posed no unacceptable

hazard.” Id. at 95 (alteration in original) (quoting Lewis, 985 F.2d at 89).

                               COMMON UNDISPUTED FACTS

I.     MilSpec AFFF is a national security asset that saves lives and safeguards vital military
       equipment.

       The military has long recognized MilSpec AFFF as the “gold standard agent” for fighting

fires involving liquid hydrocarbon fuels. Ex. 18 (Farley Dep.) 161:23–162:3, 165:6–12. As the

name “aqueous film-forming foam” implies, AFFF is a firefighting foam capable of forming a

water-based film beneath a blanket of foam; the film rapidly spreads across the surface of liquid


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fuels, extinguishing fires and preventing the fuels from releasing flammable vapors that can

reignite. Ex. 17 (Darwin Dep.) 570:19–572:11; see id. at 460:19–461:15.

        Given the inherently dangerous and often confined spaces in which the military operates,

there is no dispute that MilSpec AFFF is a “mission critical product” that protects service members

and national security assets like ships, airplanes, and installations essential to national security.

E.g., Ex. 23 at 1; Ex. 24 at ’970–71; Ex. 17 (Darwin Dep.) 451:17–453:24; Ex. 18 (Farley Dep.)

64:19–65:7; Ex. 22 (Walker Dep.) 338:19–339:10. Military operations place large quantities of

highly flammable liquid petroleum fuels in close proximity to aircraft, ordnance, and other

hazards. Ex. 30 at ’010; Ex. 24 at ’970–71. Hard-won lessons from World War II and after taught

the military that fast, efficient fire suppression is essential to maintain combat readiness and to

protect life and military assets. See Ex. 25 at 72–91; see Ex. 17 (Darwin Dep.) 455:21–487:10.

        The Navy—which DoD designated to write, issue, and oversee the AFFF MilSpec—must

approve all MilSpec AFFF products sold to the U.S. military by placing them on a Qualified

Products List (“QPL”) following the Navy’s determination that the products meet the MilSpec’s

precise qualification tests, Ex. 15 Resps. 18, 20, which establish parameters for “the best

flammable liquid firefighting agent for military applications,” Ex. 38 at 10. Over the last five

decades, the military has extensively deployed MilSpec AFFF on military bases, airfields, and

ships worldwide for use in fire suppression, fire prevention, and fire training. Ex. 104 at ’273–75.

From firefighting following military plane crashes, Ex. 22 (Walker Dep.) 90:22–92:6, to putting

out massive fires aboard military vessels, Ex. 17 (Darwin Dep.) 452:23–455:3, MilSpec AFFF has

repeatedly proven critical to saving lives, safeguarding military equipment, and achieving military

objectives, Ex. 15 Resp. 8; Ex. 17 (Darwin Dep.) 453:1–4. For a striking example, see Ex. 26, in

which



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                                                Id. (video at timestamp 2:30–35).

II.    The Navy developed AFFF in collaboration with private industry.

       As far back as the 1940s, the military has been researching fluorocarbon chemistry in

collaboration with academics and industry. Ex. 27 at 68; Ex. 28 at 27; Ex. 29 at 367, 374. A

fluorocarbon is a chemical that binds fluorine and carbon atoms, creating one of the strongest

organic chemical bonds. See Ex. 21 (Tetla Dep.) 20:14–18; Ex. 29 at 367.

       In the 1950s and 1960s, with devastating shipboard fires in World War II fresh in mind and

supercarriers deploying jet aircraft coming online, the Navy actively sought new tools to improve

and replace the protein-based foams then available. Ex. 30 at 2–8; Ex. 31 at ’094; Ex. 32 at 2–34.

The Naval Research Laboratory (“NRL”) led this research. Ex. 30 at 2–8; Ex. 27 at 67–78. Of

particular interest to NRL were fluorocarbons’ capabilities to form films over liquid hydrocarbon

surfaces. Ex. 32 at 5–6; see Ex. 28 at 27, 110–11.

       In the early 1960s, “[a]n involved study and testing program” at NRL led to the “discovery

and development” of AFFF, which NRL itself initially named “Light Water” because it formed an

aqueous layer that appeared to float on a fuel surface. Ex. 32 at 38, 43. During this period, NRL

sourced a variety of fluorosurfactants from 3M for testing as potential fire-extinguishing agents.

Ex. 30 at 21; Ex. 32 at 35 (“A concentrated form of the mixture of surfactants found most

effective . . . is supplied by [3M] according to NRL recommendations.”); see also Ex. 32 at 7–13.

After testing numerous fluorocarbon materials, NRL identified an initial AFFF formulation that

proved effective. Ex. 30 at 21 (noting that early AFFF “concentrates had been manufactured

according to a formulation set down by NRL”); see also Ex. 32 at 8–9; Ex. 33 at ’071–79. This

research, development, and use occurred before AFFF was used for civilian applications. See Ex.

34 at 2. NRL has taken credit for the “development” of AFFF ever since. Ex. 35 at 1; see Ex. 36

at ’903–04; Ex. 37 at 44–45.

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        In 1963, NRL scientists applied for a patent related to AFFF; the application disclosed in

detail the fluorocarbon ingredients used in early AFFF formulations. See Ex. 31 at ’093–120; Ex.

30 at 11–12; Ex. 38 at 8. The Navy identified these “fluorocarbon compounds” as “derivatives

of” PFOA (the “perfluorocarboxylic . . . acid[]” in which the “perfluoroalkyl chain” is “C7F15”)

and PFOS (the “perfluorosulfonic acid[]” in which the “perfluoroalkyl chain” is “C8F17”). See Ex.

31 at ’094–95; see also id. at ’098–120.3 In 1966, that application resulted in a method patent

granted to the Navy for extinguishing liquid hydrocarbon fires with AFFF. Ex. 31 at ’093–97.

Following its initial formulations of AFFF in the early 1960s, NRL continued to work with 3M

and others in the industry to further develop and test AFFF to meet the military’s needs. Ex. 30 at

14–15, 21; Ex. 27 at 68; Ex. 42 at 1–4; Ex. 38 at 8–10; Ex. 43 at 62–63.

        The Navy intensified its AFFF development efforts after a July 1967 catastrophe on the

aircraft carrier USS Forrestal. Ex. 17 (Darwin Dep.) 465:21–25, 472:24–473:23; Ex. 27 at 68.

During combat operations off the coast of Vietnam, a rocket misfired across the flight deck,

rupturing another aircraft’s fuel tank and spreading flaming jet fuel across the crowded deck. Ex.

25 at 76; Ex. 17 (Darwin Dep.) 467:19–23. Within seconds, that fire detonated ordnance loaded

on nearby aircraft. Ex. 25 at 76. Explosions triggered more explosions, and the fire quickly ran

out of control, ripping holes in the flight deck that allowed burning fuel to pour into the lower


3
  PFOS (C8F17SO3H) and PFOA (C7F15CO2H) are two specific types of “C8” or eight- carbon-
molecule PFAS that contain a chain of carbon atoms connected to a sulfonic acid and carboxylic
acid functional group, respectively. In addition to the Navy’s disclosures in its 1963 patent
application, other government documents from the 1960s forward demonstrate that the
government knew that AFFF products contained long-chain fluorosurfactants (such as PFOS and
PFOA) and understood their chemical structure. See, e.g., Ex. 39 at ’877, ’888; see also Ex. 40 at
2; Ex. 41 at 2; Ex. 76 at 2; Ex. 74 at 3. Those include reports prepared for the Air Force in the
1990s by Defendant Dynax outlining the chemicals’ carbon-chain lengths and chemical formulas.
See, e.g., Ex. 22 (Walker Dep.) 474:7–475:3; Ex. 93 at ’816; Ex. 94 at 108; Ex. 19 (Nelson Dep.)
137:19–138:14; see also Ex. 94 at 32, 108; Ex. 22 (Walker Dep.) 524:13–525:25. Compare Ex.
90 at ’449, with Ex. 94 at 13.

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decks. All told, the conflagration killed 134 sailors, seriously injured 300 more, destroyed 21

military aircraft, and took a national security asset (the Forrestal) out of action for months. Id.;

Ex. 17 (Darwin Dep.) 454:3–7, 467:12–23. The non-AFFF protein foams then in use on Navy

ships could not extinguish the fires rapidly enough to prevent extensive loss of life and damage to

the ship and aircraft. Ex. 30 at 5, 24; Ex. 25 at 42.4 Against the backdrop of the Forrestal tragedy

and other catastrophic fires, NRL drafted the 1969 AFFF MilSpec. See Ex. 1 (1969 MilSpec).

III.    Since 1969, the AFFF MilSpec has set numerous precise requirements for MilSpec
        AFFF purchased and used by the military.

        Military specifications embody DoD’s discretionary judgment on requirements for

products purchased and used by the military. See Ex. 44 at ii–xiv. MilSpecs allow DoD to procure

such goods through a competitive marketplace from private manufacturers rather than make them

itself. Ex. 15 Resp. 17.

        Because of AFFF’s superior firefighting performance, the Navy began to convert all U.S.

Naval Air Stations to freshwater-compatible AFFF in the late 1960s. Ex. 30 at 22–23. In 1969,

shortly after NRL tested and approved a seawater-compatible AFFF formulation (and on the heels

of the Forrestal disaster and a similar fire on USS Enterprise), the Navy issued the MilSpec for

AFFF, designated as MIL-F-24385. Ex. 25 at 76; Ex. 17 (Darwin Dep.) 131:12–19; Ex. 1 (1969

MilSpec).5 Around 1970, the military began purchasing and using 3M’s MilSpec AFFF, which

used fluorocarbon surfactants made through a process called “electrochemical fluorination.” Ex.

99 at 2. The remaining MilSpec AFFF manufacturers use fluorocarbon surfactants made through

a process called “telomerization.” The military began purchasing and using such telomer-based


4
 See also Trial By Fire: A Carrier Fights for Its Life, available at https://tinyurl.com/d3rm3npp;
Ex. 17 (Darwin Dep.) 465:11–20, 468:16–23; Ex. 18 (Farley Dep.) 176:4–11.
5
 MIL-F-24385 superseded the original 1963 MilSpec for AFFF (MIL-F-23905), which the Navy
had not approved for seawater use. Ex. 15 Resps. 3, 6; Ex. 14 (1963 MilSpec).

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MilSpec AFFF from certain manufacturers no later than 1973, when the military first approved it

for listing on the QPL. See id. at 1–2.

       The Air Force converted to MilSpec AFFF in the early 1970s. Ex. 17 (Darwin Dep.)

508:3–509:10; Ex. 22 (Walker Dep.) 77:2–17. Since then, all branches of the military have

adopted MilSpec AFFF. Ex. 25 at 42; see Ex. 30 at 33. Because civilian airports pose risks similar

to those at military airfields, the Federal Aviation Administration also requires MilSpec AFFF at

most passenger airports. See Ex. 45 at 4; Ex. 46 at 25–26.

       Naval Sea Systems Command and its predecessor agencies (collectively, “NAVSEA”)

have written, issued, and administered the AFFF MilSpec on behalf of DoD. Ex. 15 Resp. 7; see

Ex. 34 at 2. NAVSEA, in turn, looks to NRL for technical guidance, testing, and expertise on the

MilSpec, and NRL recommends revisions to NAVSEA for approval and promulgation. See, e.g.,

Ex. 34 at 2; Ex. 17 (Darwin Dep.) 639:13–22, 647:21–648:3, 650:22–651:8, 985:20–23; Ex. 18

(Farley Dep.) 57:7–58:23, 217:20–218:12.

       NAVSEA has amended or revised the MilSpec a dozen times between 1969 and 2020.

Exs. 1–13 (AFFF MilSpecs, including amendments and revisions). A current version of MIL-F-

24385—now denoted MIL-PRF-24385F(SH)—continues to specify the requirements for MilSpec

AFFF today. Ex. 13 (2020 MilSpec).

       The MilSpec imposes rigorous requirements for materials, chemical and physical

properties (including properties relating to potential environmental impact and toxicity), fire

performance, and packaging and markings. Exs. 1–13 (1969 to 2020 MilSpecs) § 3; see also Ex.

38; Ex. 47 at 23–26; Ex. 48 at 28–31; Ex. 136 at ’009–10. Together, these requirements establish

the “gold standard for AFFF, a much more rigid test” than private industry standards place on

commercial AFFF.       Ex. 17 (Darwin Dep.) 391:4–6; Ex. 49 at A-4 (“‘MIL-SPEC’ AFFF



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concentrate is the standard by which others are measured.”).

       For half a century—from the 1969 MilSpec until the 2019 revision—the text of the

MilSpec explicitly required contractors to use “fluorocarbon surfactants” in the product. Ex. 15

Resp. 33. For these 50 years, the MilSpec “Scope” covered “aqueous film forming foam (AFFF)

liquid concentrate fire extinguishing agent, consisting of fluorocarbon surfactants.” Exs. 1–11

(1969 to 2017 MilSpecs) § 1.1 (emphasis added); see Ex. 17 (Darwin Dep.) 570:19–572:11. Under

“Requirements” for “Materials,” the military mandated that MilSpec AFFF “shall consist of

fluorocarbon surfactants plus other compounds as required to conform to the requirements

specified hereinafter.” Exs. 1–11 (1969 to 2017 MilSpecs) § 3.2 (emphasis added). The word

“shall,” in the military as in the law, denotes a mandatory requirement. Ex. 44 at iii; Ex. 17

(Darwin Dep.) 569:21–570:18. Thus, “fluorocarbon surfactants” have always been the linchpin

of AFFF’s performance capabilities.

       The military has constrained the types of fluorocarbon surfactants that contractors may use

through stringent requirements, rather than through “recipes” or specific formulas. For example,

the MilSpec requires that qualified AFFF products be able to form a film on a specific reference

fuel (cyclohexane). See, e.g., Ex. 1 (1969 MilSpec) §§ 3.10, 4.7.7; Ex. 13 (2020 MilSpec) §§ 3.3.1,

4.7.6; Ex. 18 (Farley Dep.) 426:12–427:3. Film formation in turn aids MilSpec AFFF’s superior

fire performance, which the MilSpec separately tests and defines in terms of the maximum amount

of time (in seconds) in which MilSpec AFFF must extinguish several types of hydrocarbon fuel

fires. See, e.g., Ex. 15 Resp. 25; Ex. 1 (1969 MilSpec) §§ 3.11, 4.7; Ex. 13 (2020 MilSpec) § 3.4;

Ex. 17 (Darwin Dep.) 570:19–572:11. Fluorocarbon surfactants are not interchangeable; only

certain fluorosurfactants can be used to meet the MilSpec, and substituting one fluorocarbon

surfactant for another can significantly change the resulting AFFF’s performance. See Ex. 138 at



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’725.

        Over the years, the Navy also has tightened the required extinguishment times to provide

an even greater margin of safety to military personnel and equipment. Ex. 22 (Walker Dep.)

335:14–340:8; Ex. 18 (Farley Dep.) 64:9–25. Today, for example, MilSpec AFFF must extinguish

a 28-square-foot fire within 30 seconds. Ex. 13 (2020 MilSpec) § 3.4. These are the most stringent

requirements in the world for rapidly extinguishing hydrocarbon fuel-based fires. See Ex. 24 at

’971; Ex. 47 at ’887. And for good reason: As illustrated by the Forrestal disaster, military

operations often involve weapons that, if exposed to fire, can explode in under a minute. Ex. 90

at ’436; Ex. 17 (Darwin Dep.) 457:21–458:14.




        A related MilSpec requirement involves “burnback,” which measures how long a static

blanket of MilSpec AFFF will prevent the underlying fuel from reigniting. Ex. 20 (Sheinson Dep.)

55:3–56:8; see Ex. 13 (2020 MilSpec) §§ 4.7.13.1.4, 4.7.13.2.5 (burnback test requirements). As

with other requirements, the military has lengthened the minimum burnback time of 240 seconds

in the initial MilSpec to 360 seconds today. Ex. 1 (1969 MilSpec) § 3.11.1; Ex. 13 (2020 MilSpec)

§ 3.4. This means that a static blanket of MilSpec AFFF must be able to suppress reignition for

six minutes, simply sitting on top of the previously burning fuel and with no firefighter

intervention, a 50% improvement from the original requirement of four minutes.

        Burnback resistance is a critical feature because it suppresses the toxic, flammable vapors

previously-burning fuel emits and thereby permits military firefighters to enter what seconds

earlier was an inferno in order to rescue personnel, remove hazardous equipment, and secure

materials that could exacerbate a fire should it reflash. See Ex. 22 (Walker Dep.) 328:25–330:2.



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In fact, AFFF is so effective at preventing burnback that as a firefighter walks through a pool of

fuel, the film formed by AFFF will “reheal[]” (close up) behind her, ensuring that the fire will not

reflash behind her and trap her and other personnel in the fire area. See id.

       In sum, the MilSpec indisputably expresses the military’s discretionary judgment that

MilSpec AFFF must be made with fluorocarbon surfactants that have specific properties and

capabilities. Ex. 17 (Darwin Dep.) 568:6–570:18, 575:4–575:20. That is, if an AFFF contained a

fluorocarbon surfactant but did not pass every other requirement, it would not qualify under the

MilSpec. See Ex. 18 (Farley Dep.) 216:20–24; Ex. 20 (Sheinson Dep.) 44:3–47:4. Conversely,

from 1969 to 2019 when the MilSpec contained the express requirement for “fluorocarbon

surfactants,” even if a particular AFFF product could pass every other requirement of the MilSpec,

if it did not contain a fluorocarbon surfactant, it would not qualify. See Ex. 18 (Farley Dep.)

216:20–24; Ex. 136 at ’010.

       In May 2019, well after this litigation began, the government amended the AFFF MilSpec

by deleting the word “fluorocarbon” before the word “surfactant” in paragraphs 1.1 and 3.2. Ex.

12 (2019 MilSpec) §§ 1.1, 3.2. But this change made no difference: It is undisputed that, to this

day, a fluorocarbon surfactant remains necessary to meet the requirements of the AFFF MilSpec.

Ex. 15 Resps. 37, 42; Ex. 18 (Farley Dep.) 233:17–234:10 (NRL Director of Fire Test Operations

noting that at the time of this change he “[knew] full well that the performance would not change

because there is no other film-forming agent that we know of yet that can meet the mil spec

requirement”); see Ex. 18 (Farley Dep.) 372:4–15 (fluorine-free foams do not form films on

cyclohexane). As one 1996 Navy document puts it, because fluorocarbon surfactants “enable

AFFF solutions to form a film on a fuel surface,” they are the “sine qua non of AFFF formulations:

without fluorocarbon surfactants, there can be no AFFF.” Ex. 50 at 5 (emphasis added); see also



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Ex. 22 (Walker Dep.) 328:1–330:2.

       In fact, starting in 2017, the government expressly acknowledged this reality in the text of

the MilSpec, noting that although the “DoD’s goal is to acquire and use a non-fluorinated AFFF

formulation or equivalent firefighting agent to meet the performance requirements for DoD critical

firefighting needs,” “a viable solution may not be found for several years.” Ex. 11 (2017 MilSpec)

§ 6.6 (emphasis added). Both the 2019 and 2020 versions contain the same provisions. Ex. 12

(2019 MilSpec) § 6.6; Ex. 13 (2020 MilSpec) § 6.6.

       As the Deputy Assistant Secretary of Defense for Environment put it in a statement to

Congress in 2018, “[t]here is currently no fluorine-free formulation of the foam commercially

available that meets the critical [MilSpec] requirement to suppress aircraft fires effectively.” Ex.

51 at 53; see also id. at 7. In May 2019, just after the government amended the MilSpec, the

Director of Fire Test Operations at NRL—who oversees testing that qualifies MilSpec AFFF

products—explained to an Assistant Secretary of the Navy that removal of the word fluorocarbon

was a “political move since finding an acceptable film forming product without the use of fluorine

is very unlikely.” Ex. 52 at ’463. Even state-of-the-art fluorine-free foams today “are not film-

forming” and therefore cannot satisfy the current MilSpec’s requirements. Ex. 18 (Farley Dep.)

209:3; see id. at 199:25–200:12, 208:18–209:5, 246:11–247:15, 372:4–15, 377:20–378:13.

       The MilSpec’s various requirements have driven AFFF formulations in another way: The

fluorocarbon surfactants capable of meeting the MilSpec have always contained some amount of

long-chain fluorosurfactants, including PFOS or PFOA or compounds with the potential to degrade

into PFOS and/or PFOA. Such compounds were present either by virtue of their primary use in

ECF-based fluorocarbon surfactants or, as is now known, by virtue of their presence as an

unintended byproduct of the manufacturing process for certain telomer-based fluorocarbon



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surfactants. See, e.g., Ex. 136 at ’008–09. This was true from the original AFFF formulations, as

reflected in the Navy’s patent in the 1960s, which described AFFF with fluorocarbon surfactants

specifically derived from long-chain fluorosurfactants (including PFOS and PFOA). Ex. 31 at

’094–95; see also Ex. 33 at ’076–78 (1963 NRL laboratory report

                                                                           ). It is true today as well.

After decades of research and development driven by the evolving needs of the U.S. military, the

fluorocarbon surfactant compositions that meet the MilSpec’s requirements continue to require

fluorocarbon surfactants that “may contain trace amounts of PFOS and/or PFOA.” Ex. 15 Resp.

43.

       The 2017 MilSpec (and later amendments) also expressed the government’s view on the

inevitable presence in AFFF of PFOA or PFOS and placed limits on those two compounds. In

that MilSpec, NAVSEA imposed the first limits on the PFOS and PFOA content of MilSpec AFFF,

setting them at 800 parts per billion (which equates to 800,000 parts per trillion). See, e.g., Ex. 11

(2017 MilSpec) § 4.7.8 & tbl. I; Ex. 13 (2020 MilSpec) § 4.7.8 & tbl. I. NAVSEA “has complete

discretion to have set [the PFOS/PFOA limit] at zero if [it] wanted to.” Ex. 17 (Darwin Dep.)

945:6–11. But it did not, exercising instead its discretionary judgment “to acquire and use AFFF

with the lowest demonstrable concentrations” of PFOA and PFOS. Ex. 11 (2017 MilSpec) § 6.6;

Ex. 13 (2020 MilSpec) § 6.6.

       In summary, for a half century the military has exercised—and continues to exercise—its

discretion to balance potential hazards associated with fluorocarbon surfactants that contain and/or

may degrade to PFOS and PFOA against the risks to personnel and materiel from fire hazards.

The military mandated the use of fluorocarbon surfactants and even today chooses products

“meeting all other military specification requirements” that “contain trace amounts of PFOS and/or



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PFOA” over the available non-fluorinated products that fail to meet MilSpec requirements. Ex.

15 Resps. 33, 37, 43; see Ex. 18 (Farley Dep.) 267:4–9; Ex. 138 at ’725; Ex. 13 (2020 MilSpec)

§ 6.6.

IV.      The government has continuously investigated the alleged hazards of MilSpec AFFF’s
         fluorocarbon surfactant components.

         The military has investigated potential risks associated with fluorocarbon surfactants in

AFFF, including potential risks to the environment and human health, for many years. Throughout

these decades of study, the government has consistently opted to continue using and purchasing

MilSpec AFFF. It still does so today.

         A. The government has thoroughly examined potential risks posed by the
            fluorocarbon surfactants used to meet the MilSpec.

         The government has long understood that the superior firefighting capabilities of MilSpec

AFFF, derived from its use of particular types of fluorocarbon surfactants and other chemicals,

come with potential risks. Having examined those potential risks and decided how to balance

those risks in setting the requirements of the AFFF MilSpec, the government has continued to use

and purchase defendants’ AFFF products to this day.

         1.     Biodegradability/Persistence.      The persistence and stability of fluorocarbon

chemicals were well established long before the initial development of AFFF. See, e.g., Ex. 29 at

367 (1947 article from War Research Laboratories researchers noting “stability of the C-F bond”

and fluorocarbons’ “great chemical inertness and resistance to oxidation”); Ex. 54 at 310 (1967

fluorine chemistry textbook stating that “there are no known biological organisms that are able to

attack the carbon-fluorine bond in a fluorocarbon”); Ex. 18 (Farley Dep.) 383:23–384:2

(acknowledging      carbon-fluorine   bond    is   among     the   strongest);   Ex.    136   at   ’008

(“fluorosurfactants . . . are environmental[ly] persistent as a class”). In fact, this is a fundamental

and essential feature of the specific fluorocarbon surfactants that compose MilSpec AFFF. As the

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Navy’s patent recognized in the 1960s, AFFF works precisely because “the present

fluorocarbons,” i.e., fluorocarbon surfactants derived from long-chain chemistry like PFOA and

PFOS, “possess the necessary thermal and chemical stability which is essential for foam

compositions.” Ex. 31 at ’095; see supra p. 11 (discussing patent disclosures). Without these

properties, AFFF would not work in the first place.

       This persistence and stability also mean that the fluorocarbon surfactant component of

AFFF resists biodegradation, a fact the government has understood since at least the 1970s. Ex.

55 at 78–79 (1974 Air Force study on AFFF waste treatment stating that “[t]he fluorocarbon

surfactant [in AFFF] . . . is at best only partially biodegradable”); see Ex. 56 at 1 (“The organic

constituents present in AFFF have been reported to resist biodegradation . . . .”); Ex. 57 at 3 (“The

fluorochemical surfactants . . . have long been known not to biodegrade completely.”); Ex. 58 at

2, 17 (1978 Navy report on AFFF wastewater that discusses fluorocarbon component’s stability

and “high resistance to biodegradation”); see also, e.g., Ex. 59 (1971 Air Force report of

biodegradability and toxicity of 3M AFFF); Ex. 60 (1975 Air Force report on biodegradability and

toxicity of Ansul AFFF); Ex. 61 (1985 Navy report on AFFF toxicity); Ex. 62 (1973 Air Force

report on biodegradability and toxicity of National Foam AFFF); Ex. 63 (1979 NRL report on

AFFF biodegradability and toxicity); Ex. 17 (Darwin Dep.) 959:3–962:18. In NRL’s words in

1996, “until another solution can be found, we will have to live with the fact that a small part of

the AFFF concentrate”—specifically AFFF’s “essential” “fluorocarbon surfactants”—“is non-

biodegradable.” Ex. 50 at 5.

       The government addressed the acknowledged non-biodegradability of these fluorocarbon

surfactants in MilSpec AFFF in two ways. First, from the 1970s on, it has devoted significant

research and development resources to understanding the potential environmental impact of AFFF



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wastewater and to developing treatment strategies for wastewater and groundwater affected by

AFFF. See, e.g., Ex. 55 (1974 AFFF wastewater treatment study); Ex. 58 at 17 (1978 Navy report

on    AFFF    wastewater,   including   biodegradability   and   toxicity,   that    notes   “AFFF

wastewater . . . allowed to percolate into the ground . . . may create a significant effect

on . . . ground water contamination”); Ex. 64 at iii (1997 Navy memo: “In the past two decades,

[DoD] has devoted considerable resources towards treatment and disposal of AFFF wastewater.”);

Ex. 65 at 1, 5 (1980 Navy memo noting that AFFF imposes “significant adverse effects/toxicity to

the receiving environment” and “[t]he Navy and Air Force are facing this significant pollution

abatement problem without a satisfactory solution”); see also SERDP-ESTCP, DoD-Funded

Research on PFAS, https://tinyurl.com/2t2wnh5p (summary of completed and ongoing DoD-

funded PFAS-related research since 2011).

        Second, the 1978 MilSpec and all versions thereafter have included specific requirements

(and accompanying testing protocols) for the overall biodegradability of MilSpec AFFF products.

Ex. 15 Resps. 31, 32; Ex. 63 at 7 (1979 NRL report noting that MilSpec was “revised” “[a]s a

result of” NRL biodegradability and toxicity research); see also, e.g., Ex. 4 (1978 MilSpec)

§§ 4.7.13; Ex. 13 (2020 MilSpec) § 4.7.12.3. The MilSpec has never required that an AFFF

product or any of its particular components (let alone all of them) be 100% biodegradable. Rather,

the Navy deems an AFFF composition sufficiently “biodegradable” based on the product’s

“BOD/COD” ratio6 as set by the MilSpec. See Ex. 17 (Darwin Dep.) 959:3–961:2. It has been



6
  “The BOD [biological oxygen demand] measures the amount of oxygen consumed by
microorganisms in breaking down a hydrocarbon. The COD [chemical oxygen demand] measures
the maximum amount of oxygen that could theoretically be consumed by microorganisms.
Therefore, a BOD/COD ratio is representative of the ability of the microorganism to biodegrade
the components in a foam. The higher the BOD/COD ratio, the more biodegradable the foam.”
Ex. 90 at ’439–40.

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understood since the 1970s that the required BOD/COD ratio would not mean that the fluorocarbon

surfactants would fully degrade. See Ex. 55 at 78–79. In fact, NAVSEA has exercised its

discretion to establish a biodegradability requirement for MilSpec AFFF that is less stringent today

than when NAVSEA initially adopted the BOD/COD requirement in 1978. Compare Ex. 4 (1978

MilSpec) tbl. I (setting BOD/COD requirement of 0.85) with Ex. 13 (2020 MilSpec) tbl. I (setting

BOD/COD requirement of 0.65).

       2.      Toxicity. The government has also long studied the potential toxicity of MilSpec

AFFF and its fluorocarbon surfactant components. For example, from 1971 on, Air Force

researchers conducted myriad studies on the potential toxicity of MilSpec AFFF and experimented

with AFFF-wastewater treatment technologies. See, e.g., Ex. 59 (1971 Air Force report on

biodegradability and toxicity of 3M AFFF); Ex. 62 (1973 Air Force report on biodegradability and

toxicity of National Foam AFFF); Ex. 66 (1974 Air Force report on biodegradability and toxicity

of 3M AFFF); Ex. 55 (1974 Air Force study about toxicity and treatment of AFFF wastewater with

activated carbon); Ex. 60 (1975 Air Force report on biodegradability and toxicity of Ansul AFFF).

The Navy conducted its own research into the potential toxicity of MilSpec AFFF with a focus on

saltwater marine life in 1985 and reported similar findings to those of the Air Force. Ex. 61 at 1

(“These foams are potentially toxic due to the fluorocarbons and surfactants.”); see generally id.

at 1–17 (collecting dozens of toxicity data points and reporting additional experimental findings);

see also Ex. 58 (1978 Navy report on AFFF wastewater including biodegradability and toxicity);

Ex. 63 (1979 NRL report on AFFF including biodegradability and toxicity).

       Since at least the 1970s, military researchers have also analyzed the fluorocarbon materials

associated with MilSpec AFFF for potential health effects in mammals. E.g., Ex. 63 at 5 (1979

NRL report noting conclusion that AFFF “toxicity was related to the [fluorocarbon and



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hydrocarbon] surfactants rather than the solvent”); Ex. 76 (1983 Air Force PFAS rat toxicity

report). From 1981 to 1995, the Air Force conducted and/or sponsored numerous such studies,

some in support of a project on “Occupational and Environmental Toxic Hazards in Air Force

Operations” (using animal study results to postulate toxicity in human populations).7 These

included studies investigating both PFOA and another PFAS compound, alternatively called

perfluorodecanoic acid (“PFDA”) or nonadecafluoro-n-decanoic acid (“NDFDA”), which the Air

Force studies identified as a “model compound for evaluating the health hazard associated with

use of polyfluorinated chemicals as film forming foam fire extinguishants.” Ex. 78 at 1; see also

Ex. 76 at 2; Ex. 75 at 2.

        These studies specifically considered the potential for human health effects from exposure

to fluorocarbon materials like those used or found in MilSpec AFFF. For instance, a 1982 study

concluded that “perfluoro acid derivatives . . . may be potentially hazardous to the Air Force and

the public’s health.” Ex. 74 at ’286. Studies from the 1980s and 1990s continued investigating

the possible effects of PFAS exposure on rats and other mammals8 and some of this same research


7
   See, e.g., Ex. 73 (1981 Air Force rat teratogenicity study of “model perfluorinated
acid . . . structurally related to a surfactant agent used in fire retardant foams by the Air Force”);
Ex. 74 at ’286 (1982 Air Force-sponsored rat toxicity study of “model perfluorinated acid which
closely mimics a . . . flu[o]rochemical surfactant which is used by the Air Force in foams of fire
extinguishers”); Ex. 75 (1983 Air Force PFAS rat toxicity study); Ex. 76 (1983 Air Force PFAS
rat toxicity study); Ex. 77 (1983 published article by Air Force researchers comparing acute
toxicity of PFOA to PFDA in rats); Ex. 78 (1984 Air Force-sponsored PFAS rat toxicity study);
Ex. 79 (1985 Air Force-sponsored study examining, inter alia, toxicity of PFOA in mouse cells);
Ex. 80 (1990 Air Force-sponsored rat toxicity study comparing PFDA and PFOA in rats); Ex. 81
(1993 Air Force-sponsored study of comparative enzyme induction and hepatotoxicity of PFOA
in rats and guinea pigs); Ex. 82 (1995 Air Force-sponsored report of comparative PFAS rat toxicity
studies).
8
 See, e.g., Ex. 74 at ’284, ’286; Ex. 84 at 46–52 (2016 Air Force summary of health studies from
1981–1995); Ex. 73 (1981 Air Force PFAS rat teratogenicity report); Ex. 86 at ’304–05, ’312 (1982
Air Force-sponsored dissertation comparing PFAS effects in rats); Ex. 88 at 4 (1983 Air Force-
sponsored PFAS rat study); Ex. 76 (1983 Air Force PFAS rat toxicity study); Ex. 78 at 2–3, 5


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recognized the potential of fluorocarbon surfactants related to MilSpec AFFF to bind to human

blood.9 Another example is a 1997 NRL report that discussed “persistence and biodegradability

of chemicals in foam . . . including potential toxicity to humans” as a factor in the overall “impact

of foam on the environment.” Ex. 90 at ’439 (emphasis added). Mr. Farley, who worked with

NRL, testified that he was familiar with this report and acknowledged the Navy’s awareness of the

“potential” toxicity to humans at this time. Ex. 18 (Farley Dep.) 380:25–382:6.

        As with biodegradation, the government exercised its discretion based on these

investigations into the potential toxicity of fluorocarbon surfactants in MilSpec AFFF in two ways.

First, the military set MilSpec toxicity requirements: Since 1977, all versions of the AFFF MilSpec

have included testing protocols and maximum levels for toxicity, reflecting the government’s

discretionary determination that some level of toxicity is acceptable to meet the military’s needs.

Ex. 63 at 7 (1979 NRL report noting that MilSpec was “revised” “[as] a result of” NRL

biodegradability and toxicity research); see Ex. 15 Resp. 30; see also, e.g., Ex. 3 (1977 MilSpec)

§§ 3.16, 4.7.16; Ex. 13 (2020 MilSpec) § 4.7.12.1 & tbl. I. The toxicity tests mandated by

NAVSEA have evolved over time, but generally set minimum lethal concentration levels for half


(1984 Air Force-sponsored report on PFAS rat toxicity); Ex. 77 (1983 published article by Air
Force researchers on acute toxicity of PFOA in rats); Ex. 83 (1985 Air Force-sponsored publication
on PFAS effects in rats); Ex. 79 (1985 Air Force-sponsored report on PFAS comparative toxicity
in mouse cells); Ex. 89 at 8 (1985 Air Force-sponsored research on PFAS effects on rat cells); Ex.
85 at 512 (1992 PFOA and PFDA rat toxicology publication with Air Force co-author); Ex. 81
(1993 Air-Force sponsored report on PFAS comparative toxicity to rats and guinea pigs); Ex. 87
at 1 (1993 Air Force-sponsored PFAS rat toxicity study); Ex. 82 at 10–17 (1995 Air Force-
sponsored report of comparative PFAS rat toxicity studies).
9
  Ex. 86 at ’314–16 (1982 Air Force-funded study regarding potential PFAS toxicity, noting the
use of PFAS in AFFF and recognizing that PFOA’s propensity for “avid binding” to human blood
“was reported in the 1950’s” (citing Ex. 71)). Another published study similarly reported in 1980
that fluorocarbons may be retained in the body and “very slowly eliminated in humans.” Ex. 68
at ’106–07 (F.A. Ubel, et al., Health Status of Plant Workers Exposed to Fluorochemicals, Am.
Indus. Hygiene Assoc. J (1980)); see Ex. 67 (letter submitting Ex. 68 to EPA); Ex. 69 (EPA status
report referencing Ex. 68); Ex. 70 (letter from NIOSH director to lead author of Ex. 68).

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of a population (“LC50”) of a particular species of fish, the killifish (fundulus heteroclitus), that

are exposed to MilSpec AFFF concentrates. Ex. 50 at 3; Ex. 3 (1977 MilSpec) §§ 3.16.1, 4.7.16;

Ex. 13 (2020 MilSpec) § 4.7.12.1 & tbl. I.

       AFFF products must meet these government-prescribed limits for toxicity to be listed on

the QPL. Ex. 18 (Farley Dep.) 58:3–23; Ex. 90 at ’440. As Robert Darwin10 put it, if a MilSpec

AFFF did not meet the environmental “requirements set forth in the [MilSpec],” then “they

wouldn’t have been on the qualified products list.” Ex. 17 (Darwin Dep.) 652:8–17.

       Second, the military actively sought to develop a less toxic AFFF, including by soliciting

development of lower-fluorine or fluorine-free alternatives. For example, in the 1970s, NRL

retained Ansul to “explore the development of experimental AFFF formulations that would exhibit

reduced impact on the environment while retaining certain fire suppression characteristics.” Ex.

91 at ’033; see Ex. 92 (Ansul Final Report). By 1993, the Air Force had formed the AFFF

Interagency Steering Group with the Navy, Army, and FAA to explore the development of more

“environmentally-friendly” AFFF. Ex. 22 (Walker Dep.) 445:12–447:2. That same year, the Air

Force offered a grant for research on “environmentally more benign” firefighting foams. Ex. 93

at ’814; Ex. 19 (Nelson Dep.) 97:3–99:13. The Air Force awarded the grant to Dynax, a small

research and development company, which submitted reports to the Air Force from 1993 to 1996

on its research into “environmentally more benign” AFFF. E.g., Ex. 93; Ex. 94. Notwithstanding

these efforts, the then-custodian of the MilSpec testified that he “[d]id not” receive “a

recommended change to the [MilSpec] from the Air Force as a result of [the program].” Ex. 17

(Darwin Dep.) 546:9–13.


10
  From 1985 to 1998, Mr. Darwin was the custodian of the MilSpec, meaning he was the Navy
official charged with maintaining and, when necessary, updating the MilSpec. Ex. 17 (Darwin
Dep.) 30:7–31:12, 648:4–12.

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       In 1995, NAVSEA’s Robert Darwin and Joseph Gott of Naval Facilities Engineering

Command (which manages engineering and other issues for Navy shore facilities worldwide),

among others, neatly summarized the military’s large body of knowledge in their article “Foam

and the Environment: A Delicate Balance.” Ex. 95. They outlined concerns “about the potentially

adverse impact of foam discharges on the environment, particularly those that reach natural or

domestic water systems” (i.e., contact points with humans and other biota). Id. at ’662. The paper

noted that fluorocarbon surfactants in AFFF are persistent, are not known to fully biodegrade, are

mobile in the environment, can move through aquatic systems and leach into soil, may reach

ground and surface water, and may “have an affinity for living systems” (i.e., may bioaccumulate

in living organisms). Id. at ’666. The paper also stated that “[i]t is prudent to evaluate the drinking

water supply if a foam discharge has contaminated it.” Id. Yet, even considering all of these

known risks, the authors made the judgment that, on balance, “the fire safety advantages of using

[AFFF] are greater than the risks of potential environmental problems.” Id. at ’663.

       Hence, in the decades leading up to 2000, the government repeatedly investigated potential

hazards of MilSpec AFFF and its fluorocarbon surfactant components. The government used this

research to understand and manage risks associated with MilSpec AFFF, including by revising the

MilSpec to include biodegradability and toxicity requirements and conducting extensive research

into wastewater treatment and development of alternative formulations.

       B. The government continued its evaluation of MilSpec AFFF’s potential hazards
          following 3M’s exit from the market in 2000.

       On May 16, 2000, EPA and 3M announced the phase-out of 3M products made with

“perfluorooctanyl sulfonate (PFOS) chemistry,” including 3M’s MilSpec AFFF. Ex. 96. The EPA

news release stated that the data 3M had supplied to EPA “indicated that these chemicals are very

persistent in the environment, have a strong tendency to accumulate in human and animal tissues


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and could potentially pose a risk to human health and the environment over the long term.” Id.

Following this announcement, DoD, EPA, and other agencies and governmental departments

focused even more resources on investigating PFOS and PFOA, including these chemicals’ use,

role as possible degradation products of MilSpec AFFF, and potential human and environmental

toxicity.

        On August 2 and 3, 2000 (a few months after 3M’s announcement), NRL’s Navy

Technology Center for Safety and Survivability hosted a “DOD AFFF Environmental Meeting”

with personnel from the Army, Navy, Air Force, Marine Corps, FAA, and EPA in attendance. Ex.

97 at ’842, ’851–55. EPA’s slide presentation indicated to the military EPA’s view that PFOS

presented a “problem” because it is persistent, bioaccumulating, and toxic. Id. at ’937.

        EPA considered PFOS toxic at high doses because, although it was “only moderately toxic

via acute oral exposure,” “serious effects” were seen in animals in “repeat oral dose subchronic

and reproductive toxicity studies.” Id. at ’939. EPA considered PFOS “persistent” because it “is

a very stable chemical that does not break down or degrade in the environment.” Id. at ’938. It

considered PFOS “bioaccumulative” because “PFOS can build up over time; its half-life in human

blood is about 4 years.” Id. EPA told the attendees that PFOS was not an “imminent health risk”

but that EPA had “serious concern for potential future risk to humans and wildlife if PFOS

continues to be produced, released, [and] built up in the environment.” Id. at ’943. In addition,

EPA’s presentation directed DoD to EPA’s Administrative Record file AR-226, which then

contained hundreds of studies on the potential toxicity of PFOS and related chemistries, including

“all health studies submitted on PFOS.” Id. at ’950.11


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   As of December 2019, the index of AR-226, alone, had grown to 538 pages and contained
nearly 4,000 entries from various sources of information. Ex. 98 (index to docket as of December
2019).

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       Facing the impending unavailability of 3M MilSpec AFFF for further purchases, the

military focused on MilSpec AFFF manufactured by its other qualified suppliers. All of the

remaining suppliers sourced fluorosurfactant chemicals made by an entirely different process from

3M’s, called “telomerization.” Ex. 57 at 4–6. Telomer-based MilSpec AFFF was not new; the

military had qualified and used it continuously since 1973. Ex. 99 at 1–2.

        In a memo dated October 2000, Doug Dierdorf, an Air Force toxicologist, recounted 3M’s

decision to exit the market and noted that “EPA is assessing the AFFF components used by other

suppliers.” Ex. 100, at 1. The memo added that “these alternate products degrade to produce

compounds that are closely related to PFOS,” the “primary degradation products of these AFFF

compositions are [PFOA] and [PFDA],” and those compounds are “very persistent, and appear to

be bio-accumulating and toxic.” Id.

       In February 2001, DoD invited groups from the military branches, EPA, FAA, and the

National Fire Protection Association to attend an AFFF workshop to discuss the impact of an EPA

proposed rule that DoD viewed with alarm as having the potential “to ban future production and

importation” of PFOS. Ex. 101 at 1, 3. At the workshop, EPA reiterated to the military that PFOS

is persistent, bioaccumulative, and toxic, and it remarked that PFOA and telomer-based AFFF

“raise similar concerns.” Ex. 102 at ’052, ’055. DoD viewed the situation with “panic[]” because

a complete regulatory ban on the sale or use of PFOS- and/or PFOA-containing products would

threaten DoD’s ability to procure mission-critical AFFF. Ex. 16 (Bowling Dep.) 46:15–49:10.

       In November 2002, EPA issued its “Draft Hazard Assessment of Perfluorooctanoic Acid

(PFOA) and Its Salts,” prepared by its Office of Pollution Prevention and Toxics. Ex. 103. The

Draft Hazard Assessment characterized PFOA as persistent and potentially bioaccumulative and

toxic. Id. Based on “[g]roundwater samples taken near fire-training areas that used fire-fighting



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foams containing perfluorinated surfactants [that] had elevated PFOA concentrations many years

after the foam use,” EPA found that “(1) PFOA either existed in—or was formed via degradation

of—the surfactants, (2) PFOA or its precursors migrate through the soil, and (3) PFOA persists in

groundwater.” Id. at 1. The military, in the meantime, continued to use its inventory of MilSpec

AFFF that it knew contained PFOS and/or PFOA. Compare Ex. 104 (2004 AFFF inventory) with

Ex. 105 (2011 AFFF inventory).

       EPA’s ongoing studies of PFOA resulted in its decision to work toward an end to all

production and manufacturing emissions of the chemical. In January 2006, EPA contacted all

major U.S. fluoropolymer and telomer manufacturers, requesting that they “join with EPA and

other stakeholders to commit to a global stewardship program whose goal is to work toward

essentially eliminating emissions and product content levels of PFOA and related chemicals.” Ex.

106 at 1. EPA “recognize[d] that PFOA is persistent in the environment, that it has been detected

in human blood, and that animal studies indicate effects of concern.” Id. The request also

characterized “PFOA and related chemicals” as “persistent, bioaccumulative, and toxic.” Id. at 2.

The proposed program’s goal was to commit to (1) a 95% reduction in product content levels and

facility emissions of PFOA and potential precursor chemicals by 2010 and (2) the elimination of

direct production of PFOA and related chemicals by 2015.           Id. at 1.   The participating

manufacturers agreed. In October 2006, that resulted in EPA’s PFOA Stewardship Program. Ex.

107; Ex. 108.

       Throughout this same period, DoD was acting in parallel to EPA.




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         Ex. 109 at i–ii; Ex. 110.12



                                                                                Ex. 112 at ’319.

Participants discussed the presence of PFOA in AFFF that DoD purchased, the potential for human

exposures, and the potential need to clean up fire training pits where AFFF was used. Id.

       Even amidst all of this regulatory activity, the federal government imposed a requirement

that large domestic airports, known as “Part 139” airports—which encompass all the major airports

in the United States—purchase MilSpec AFFF beginning in July 2006. Ex. 113 (Part-139 Airport

Certification Status List); Ex. 114. The FAA explained the requirement by reference to the same

considerations that had driven the military’s need for MilSpec AFFF—particularly the need for an

agent that would reliably and efficiently control deadly fires at passenger airports. See Ex. 114;

see also Ex. 115 (reiterating this requirement in September 2016).

       In 2008, DoD wrote to the Army, Navy, Air Force, and Joint Chiefs of Staff that “PFOA

is bio-persistent and has been found widely in blood samples from the general population,” but

emphasized that it “is used in the formulation of products critical to the [DoD].” Ex. 116 at 1.

DoD noted that “suitable substitutes” for PFOA-containing AFFF were in development but not yet

available. Id.

       In January 2009, EPA publicly announced Provisional Health Advisories (“PHAs”) for

PFOA and PFOS in drinking water. Ex. 117 at 1. EPA described these PHAs as “reasonable,

health-based hazard concentrations above which action should be taken to reduce exposure to

unregulated contaminants in drinking water.” Id. at 1 n.1. EPA’s advisory levels for acceptable


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                                             Ex. 111 at 3. It is tasked with “endors[ing] the risk
management options” related to impacts of chemicals that carry a potential risk to DoD. Id.

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“short-term” consumption of drinking water were 400 parts per trillion for PFOA and 200 parts

per trillion for PFOS. Id. at 4–5. These levels are equivalent to a few drops of PFOS/PFOA in an

Olympic-sized swimming pool. Ex. 118 at 10.

       Throughout this period, the military closely coordinated with EPA about PFAS, see, e.g.,

Ex. 119; Ex. 101; Ex. 102; Ex. 97, and was aware of EPA’s PHAs when EPA issued them in 2009.

See Ex. 120 at 2. Later in 2009, the Department of Health and Human Services’ Agency for Toxic

Substances and Disease Registry (“ATSDR”) issued a Draft Toxicological Profile for

Perfluoroalkyls, which reported, among other things, that “two studies in workers found changes

in sex hormones and cholesterol associated with the levels of PFOA in blood”; exposure to PFOA

resulted in changes to the livers of laboratory animals; and “[f]eeding PFOA and PFOS to rats

caused them to develop tumors.” Ex. 121 at 4–5.

       Notwithstanding all of the above information about the claimed environmental and human

toxicities of PFOS and/or PFOA in MilSpec AFFF, DoD specifically advised its branches to

continue to use the product. In 2011, DoD’s Chemical & Material Risk Management Directorate

issued a DoD-wide Chemical & Material Emerging Risk Alert for MilSpec AFFF, reiterating that

“[s]ome legacy [MilSpec] AFFF formulations contain chemicals that present human health and

environmental risks.” Ex. 122 at 1, 3 (including “PFOS-based AFFF concentrate” and “long-chain

telomer-based AFFF products”). In particular, DoD Alert advised that MilSpec AFFF contained

PFOS and/or PFOA, which “bioaccumulate in the food chain, resist degradation, show evidence

of toxicity in laboratory studies, and are the subject of increasing regulation worldwide.” Id. It

further noted that “sampling conducted at three DoD firefighting training areas showed

concentrations of PFOS and PFOA in groundwater several orders of magnitude greater than the

EPA PHA values.” Id. at 2. But even with all this information, the DoD Alert advised that PFOS-



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based AFFF from the military’s inventory “can continue to be used in the United States,” and that

PFOA-containing AFFF remained on the DoD Qualified Products List and thus available for

purchase and use. Id.

       In May 2016, EPA replaced the 2009 PHAs with Lifetime Health Advisories for PFOS and

PFOA in drinking water, setting the lifetime health advisory levels at 70 parts per trillion combined

for PFOS and PFOA. Ex. 123 at 10; Ex. 124 at 9. These advisory levels remain in place today

and, as described below, the military continued to allow the purchase and use of all types of AFFF

after EPA issued them.

V.     The military continued to use 3M MilSpec AFFF long after 3M’s announced exit from
       the market and continues to purchase and use telomer-based MilSpec AFFF today.

       As DoD described in its 2011 Risk Alert, Ex. 122, armed with decades of knowledge

leading up to the 2009 EPA PHAs and ATSDR Draft Toxicological Profile, the military exercised

its discretion to continue to purchase and use MilSpec AFFF that it knew contained PFOA, and to

use 3M’s PFOS-based MilSpec AFFF still in inventory, both in emergency fire situations and in

training exercises. This embodied a classic risk-benefit judgment by the military, weighing the

mission-critical nature of MilSpec AFFF against the potential risks of PFOS and PFOA to the

environment and to people, including servicemembers.            After balancing these competing

considerations, DoD decided to continue to purchase and use these products.

       A. The military continued to use 3M AFFF as late as 2018.

       For years after 3M’s 2000 announcement, DoD continued to purchase and use 3M’s AFFF.

See, e.g., Ex. 119; Ex. 125. 3M continued to manufacture its AFFF products containing PFOS

until the end of 2002, Ex. 126 at 1, and the military continued to purchase 3M’s MilSpec AFFF

through 2001, Ex. 127; see also Ex. 122 at 1; Ex. 128. In fact, at least one of 3M’s PFOS-

containing MilSpec AFFF products remained on the QPL (and therefore eligible for military


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procurement, if a source could be found) until 2010. Ex. 99.

       Estimates of the United States government’s AFFF inventories developed by Robert

Darwin (after leaving NAVSEA to work as a contractor) suggest that from 2004 to 2011 the

government may have used about one million gallons of 3M AFFF. Ex. 105; see also Ex. 18

(Farley Dep.) 331:3–22. In 2011, two years after EPA issued its PHAs, DoD confirmed that

“PFOS-based AFFF concentrate” remained in the military’s inventory and advised that “PFOS-

based AFFF can continue to be used in the United States.” Ex. 122 at 1. Nor did EPA ever prohibit

either military or civilian use of existing stocks of PFOS-containing AFFF. Ex. 119 at 1–2; Ex.

22 (Walker Dep.) 571:24–572:19; see also Ex. 22 (Walker Dep.) 538:19–539:12 (Air Force did

not prohibit); Ex. 17 (Darwin Dep.) 168:14–169:1 (Navy did not prohibit).

       In fact, the military did nothing to replace PFOS-based AFFF in its inventory until about

December 2015, when DoD’s ECGC met to discuss, in part, “risk management actions regarding

fire-fighting foams.” Ex. 129. The ECGC recommended that the military “remove & properly

dispose of PFOS-based AFFF from the local stored supplies for non-shipboard use[,] . . . [and]

[f]ocus on removing and replacing known PFOS-based AFFF in unopened drums/cans versus

AFFF already loaded into system tanks/bladders[,]” and, referring to telomer-based AFFF, pointed

out that “PFOS-free AFFF is available on the [QPL].” Ex. 130; see also Ex. 131 at 3–4.

       But even then, the ECGC only recommended removing PFOS-based AFFF for “non-

shipboard use.” Ex. 130. As late as 2016, a DoD report noted that “significant amounts [of PFOS-

based AFFF] remain in the inventory and continue to be used,” and that “[t]he use of stockpiled

PFOS-based AFFF [was] not restricted in the United States” at that time. Ex. 126 at 2. It was not

until 2018 that the military set a policy to phase out (by 2020) its land-based use of PFOS-based

AFFF. See Ex. 131 at 3–4. And to this day, the military has not prohibited off-shore use of PFOS-



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based AFFF to the extent any remains on ships. See Ex. 130 (recommending phase out only for

“non-shipboard use”).

       B. The military purchases and uses telomer-based AFFF today, knowing it still may
          contain PFOA or compounds that could degrade to PFOA.

       Following 3M’s withdrawal from the AFFF market in 2000 and the government’s

subsequent further examination of PFOA, the military decided to continue to purchase and use

MilSpec AFFF that it knew contained PFOA and/or compounds that potentially degraded to

PFOA. Ex. 122; Ex. 119. The military’s inventories reflect this continued purchase and use. Ex.

132; Ex. 133; Ex. 126 at 4–10; Ex. 134. In 2016, DoD maintained in stock approximately 400,000

to 750,000 gallons of telomer-based MilSpec AFFF, not including AFFF that was intermixed in

military storage or delivery systems with 3M’s PFOS-based AFFF. Ex. 126 at iv–v.

       In June 2018, DoD submitted a report to Congress on the military’s plan to phase out its

“legacy” MilSpec AFFF inventory, Ex. 131 at 2, 4, which would include phasing out “PFOS-based

AFFF concentrate” and “long-chain telomer-based AFFF products.” Ex. 122 at 1, 3. DoD reported

to Congress that the Navy aimed to remove, replace, or dispose of legacy AFFF at the end of

FY2020 (i.e., October 2020), and that the Army and Air Force would do so in 2019 and by the end

of FY2019, respectively. Ex. 131 at 3–4. In other words, despite the government’s (including the

military’s) decades of investigating and evaluating potential risks of PFOS and PFOA, some

branches of the military did not plan to replace the “legacy” AFFF in stock until last year.

       The military has expressed its clear-eyed rationale for continued use and purchase of

MilSpec AFFF in scores of documents spanning several decades. See, e.g., Ex. 135 at 9; Ex. 23

at 1; Ex. 50 at 5. As explained in the 1995 article co-written by Robert Darwin, then NAVSEA’s

Director of the Fire Protection Division, “[b]ecause [AFFF agents] can rapidly extinguish

flammable liquid fires, they have undoubtedly saved lives, reduced property loss, and helped


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minimize the global pollution that can result from the uncontrolled burning of flammable fuels,

solvents, and industrial liquids.” Ex. 95 at ’662. More than two decades later, in 2016, James

Podolske, the Air Force Fire Chief, emphasized that AFFF is an “integral part” of the Air Force’s

“toolbox” because it helps save lives, including the lives of Air Force firefighters, and protect

property. Ex. 137 at 1. In 2016, Mark Correll, Deputy Assistant Secretary of the Air Force, echoed

these comments, stating that “[f]rom an operational standpoint, we must use a [M]ilspec approved

AFFF to protect people and property” and, given that the military must use MilSpec AFFF, “we

want to move to reduce the ‘environmental risk’ associated with [AFFF] to [the] best extent we

can.” Ex. 72 at ’836. In other words, Secretary Correll explained, by continuing to use and

purchase MilSpec AFFF, the military was striking a balance between “operational risk” and

“environmental risk.” See id.

       In short, multiple key military decisionmakers who were intimately connected to AFFF

described the government’s discretionary balance between, on the one hand, the potential

environmental and health hazards associated with PFOS and PFOA, on the other hand, and

continuing to purchase and use MilSpec AFFF because it is so critical to saving lives and protecting

property. See Ex. 137 at 1; Ex. 95 at ’662.

                                           ARGUMENT

       The undisputed facts establish, as a matter of law, that the government “approved

reasonably precise specifications” for MilSpec AFFF under both of the “two routes” that the

Fourth Circuit has articulated for satisfying the first Boyle element. See Ramey v. Martin-Baker

Aircraft Co., 874 F.2d 946, 950 (4th Cir. 1989) (analyzing Boyle v. United Techs. Corp., 487 U.S.

500, 512 (1988)); Tozer v. LTV Corp., 792 F.2d 403, 407–08 (4th Cir. 1986); Dowd v. Textron

Inc., 792 F.2d 409, 412 (4th Cir. 1986).

       First, the AFFF MilSpec easily exceeds the bar set by Tozer, Boyle, and their progeny for

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approval of “reasonably precise” specifications. The government not only “approved” but wrote,

issued, updated, and enforced the precise specifications for MilSpec AFFF. Those specifications

required “fluorocarbon surfactants” and also imposed rigorous requirements (including film

formation, sealability, and fire performance) that mandated contractors’ use of certain

fluorocarbon surfactants capable of meeting those requirements. On its face, the AFFF MilSpec

satisfies Tozer’s “reasonably precise” standard.

       Second, under the Dowd test, Defendants are entitled to summary judgment on the first

Boyle element because the uncontroverted evidence establishes that the federal government

continued to purchase, use, and/or require the use of MilSpec AFFF containing PFOS and/or

PFOA (or compounds that could break down to PFOS or PFOA) long after it knew of the putative

hazards of the product.

I.     The AFFF MilSpec is “reasonably precise” on its face.

       A. The government approved reasonably precise specifications by writing, issuing,
          and overseeing a particularized MilSpec.

       The first element of the GCD sets a low bar: The government need only “approve” a

“reasonably precise” specification. Boyle, 487 U.S. at 512; In re Agent Orange Prod. Liab. Litig.,

517 F.3d 76, 90–91 (2d Cir. 2008). In the case of the AFFF MilSpec, the government did far more

than simply “approve” it. Continuously since the 1960s, the government has actually written and

updated the specification, which requires contractors to use fluorocarbon surfactants, and then has

tested AFFF products and driven the development of more effective AFFF formulations. Thus,

the required “genuine governmental participation in the design” of AFFF cannot reasonably be

debated. Tozer, 792 F.2d at 408.

       Courts have repeatedly held that the first Boyle element was met in cases in which the

government itself issued a written specification containing numerous quantitative and qualitative


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requirements for the product. For instance, in Ramey, the Fourth Circuit affirmed the trial court’s

grant of summary judgment to the defendant under the GCD, holding that Boyle’s first element

was satisfied where “[the] Navy issued the original design specifications” for the allegedly

defective product; the Fourth Circuit explained that the GCD’s first element is satisfied if

government approval “consists of more than a mere rubber stamp,” and concluded that the Navy’s

issuance of the relevant specifications easily met that test. 874 F.2d at 950. The Third Circuit in

Carley v. Wheeled Coach likewise held the GCD’s first element was met where “the government

itself created and approved the specifications” for the product at issue. 991 F.2d 1117, 1125 (3d

Cir. 1993); see also Yeroshefsky v. Unisys Corp., 962 F. Supp. 710, 719–21 (D. Md. 1997).

       The government exercised its discretion to draft and issue particularized specifications for

MilSpec AFFF—including the critical design requirement that all AFFF must contain

“fluorocarbon surfactants” (the allegedly defective component at issue in this litigation). The

Navy has then administered and repeatedly modified the specifications for decades. See Common

Undisputed Facts (“CUF”) Section III. The MilSpec has imposed many other strict requirements

that an AFFF product must meet, including the ability to form a film on a specific reference fuel,

to extinguish fires within particular time limits, and to meet standards for toxicity and

biodegradability. See CUF Sections III & IV.A. The MilSpec also sets forth specific testing and

inspection procedures for determining that qualified AFFF products meet these requirements. Id.

These requirements (including film-formation and strict performance parameters, among others)

can be satisfied only by using certain types of fluorocarbon surfactants. Indeed, from the 2017

version through the present version, the MilSpec explicitly notes the government’s approval of the

presence of PFOA or PFOS in the product. See CUF Section III & IV.

       The government’s decades-long and continuous involvement with and oversight of



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MilSpec AFFF satisfies Boyle’s first element, which requires only that the government do more

than merely “rubber stamp” a product design. Tozer, 792 F.2d at 407–08; see also Kleemann v.

McDonnell Douglas Corp., 890 F.2d 698, 701 (4th Cir. 1989); Tate v. Boeing Helicopters, 55 F.3d

1150, 1154 (6th Cir. 1995); Harduvel v. Gen. Dynamics Corp., 878 F.2d 1311, 1320 (11th Cir.

1989). By expressly requiring fluorocarbon surfactants in MilSpec AFFF and setting other

parameters that necessarily mandated specific types of those chemicals, DoD exercised its

discretion with even more precisions than in many other cases that satisfy the Tozer test—

including Tozer itself. On this basis alone, the first element of Boyle is satisfied as a matter of law.

        B. The AFFF MilSpec is “reasonably precise” without explicitly identifying the exact
           fluorocarbon surfactants to be used in its design.

        Plaintiffs have contended that the AFFF MilSpec is not “reasonably precise” because (i) it

does not specify the particular fluorocarbon surfactants that a contractor must use, and (ii) it is

merely a “performance” specification. Both arguments fail.

        First, the government need not specify a particular fluorocarbon surfactant in order for the

MilSpec to be “reasonably precise” under Boyle. To the contrary, “general government approval

of an overall design is sufficient,” and the “defense can apply even where the manufacturer retains

significant control over the design features in question.” Haltiwanger v. Unisys Corp., 949 F.

Supp. 898, 902 (D.D.C. 1996); see Yeroshefsky, 962 F. Supp. at 718–19 (“reasonably precise

specifications does not . . . mean that the government must exercise discretion with regard to the

specific feature alleged to be defective”; “with regard to the first element under Boyle, a contractor

need only show government approval of the overall design”); Niemann v. McDonnell Douglas

Corp., 721 F. Supp. 1019, 1027 (S.D. Ill. 1989) (“The first prong of the Boyle test . . . requires that

the government approve the reasonably precise specifications for the aircraft, and not, as plaintiff

argues, for each individual component of the aircraft.”). In fact, the Supreme Court cautioned


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against “penaliz[ing], and thus deter[ring], active contractor participation in the design

process . . . .” Boyle, 487 U.S. at 513. This followed from the Fourth Circuit’s description in

Boyle decision below, that “Sikorksy and the Navy worked together to prepare detailed

specifications for the CH–53 helicopter,” including as to the allegedly defective escape hatch.

Boyle v. United Techs. Corp., 792 F.2d 413, 414–15 (4th Cir. 1986), aff’d, 487 U.S. 500

(1988). Thus, the government need not specify the exact fluorocarbon surfactant a contractor must

use for the MilSpec to be “reasonably precise” under Boyle. See, e.g., Carley, 991 F.2d at 1125

(“[T]he government need not deprive the manufacturer of all discretion pertaining to a particular

design feature in order for the government contractor defense to apply.”); see also supra p. 7 n.2.

       The decision in Gauthreaux v. United States, 694 F. Supp. 2d 460 (E.D. Va. 2009), is

instructive. In contrast to the government’s particularized AFFF specifications, in Gauthreaux the

specification did not even mention the allegedly defective design feature (a lack of rear and side

view mirrors). Id. at 467. The court nevertheless applied Fourth Circuit precedent to hold that the

manufacturer was protected by the GCD, explaining that the government’s silence on this feature

did “not mean that the United States approved imprecise or general guidelines, that it did not

conduct a thorough review of the overall specifications, or that it left important design features”

to the contractor. Id. What mattered was the specification’s “reasonable precision” as a whole,

not whether it contained a precise blueprint or even mentioned the allegedly defective component

itself. The AFFF MilSpec even more clearly satisfies the “reasonably precise” standard because

it requires the use of “fluorocarbon surfactants,” the very product component about which

Plaintiffs complain in this MDL.

       The Ninth Circuit’s decision in Guerinot v. Rockwell International Corp., 923 F.2d 862,

1991 WL 4105 (9th Cir. 1991) (table), is also on point. There the plaintiff alleged that the



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defendant’s specific choice of loctite as a “locking agent” (an adhesive used to prevent fasteners

from loosening) led to an accident. The plaintiff challenged the first element of the GCD because

the Navy specification merely required the contractor to use a “locking agent,” without

“specifically requir[ing] the use of loctite as a locking agent.” Id. at *4. The Ninth Circuit rejected

the argument and affirmed summary judgment for the contractor on the GCD, holding that the

defense applied because “the specifications state that an epoxy may be used as a locking agent,”

and the Navy never disapproved of using Loctite as an epoxy for the relevant product despite

having “ample opportunity” to do so. Id.

       The Ninth Circuit’s holding would apply equally here, even if the MilSpec only required

use of a “fluorocarbon surfactant” but left selection of a particular “fluorocarbon surfactant”

entirely to the manufacturers.     But the military did not leave this decision entirely to the

manufacturers—as a practical matter, only certain fluorocarbon surfactants can meet all of the

MilSpec requirements, including the requirement that MilSpec AFFF form a film over

hydrocarbon fuels and meet the MilSpec’s rigorous fire performance standards. See CUF Section

III. The current AFFF MilSpec reflects the government’s understanding that these particular

fluorocarbon surfactants may contain PFOA or PFOS:              Despite all the public controversy

surrounding PFOA and PFOS, even today, the AFFF MilSpec permits the product to contain up

to 800 ppb (800,000 ppt) of PFOS or PFOA.

       Thus, the AFFF MilSpec is far more “reasonably precise” than the specifications at issue

in cases like Gauthreaux or Guerinot. Not only does the MilSpec contain express design

requirements, but it requires the precise design element Plaintiffs challenge—fluorocarbon

surfactants—that the military acknowledges may contain some level of either PFOS or PFOA.

See, e.g., Ex. 13 (2020 MilSpec) § 6.6. The MilSpec’s other requirements further constrained



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contractors’ design choices, limiting the universe of options to assure a final product that met the

military’s needs—as amply demonstrated by the fact that even today, no product without

fluorocarbon surfactants meets the MilSpec.

       Second, Plaintiffs’ repeated assertion that the AFFF MilSpec is merely a “performance”

specification is a red herring, for two reasons. First, the Navy’s decision to label the AFFF

MilSpec a “performance” specification does not mean that the MilSpec cannot satisfy Boyle’s first

element. Although it is true that military specifications must do more than merely identify a certain

qualitative level of performance to satisfy the first element of Boyle, see, e.g., Getz, 654 F.3d at

862, a mere label or characterization of a specification is immaterial. What matters are the

specification’s contents. See, e.g., id. (“reject[ing] the notion that the approved specifications

constitute mere performance criteria” because “the key specifications at issue pertain[ed] to the

[product’s] design”); cf. Oliver, 96 F.3d at 996–99; Harduvel, 878 F.2d at 1320. The AFFF

MilSpec, on its face, does not merely specify performance requirements or otherwise leave the

formulation of the product up to the manufacturers’ unconstrained discretion. As Mr. Darwin

agreed, regardless of the label used, the contents of the AFFF MilSpec show that it “required part

of the design to be that it contained fluorocarbon surfactants.” Ex. 17 (Darwin Dep.) 575:12–20.

       Moreover, “[p]erformance requirements” themselves “can mandate a design choice” and

thereby satisfy Boyle’s first element. Kase v. Metalclad Insulation Corp., 212 Cal. Rptr. 3d 198,

212 (Cal. Ct. App. 2016). The Seventh Circuit made that clear in Oliver v. Oshkosh Truck Corp.

There, the court held that the defendant had “satisfied the first element of the Boyle test” because

the evidence showed that the Marine Corps had “exercised, through a detailed set of performance

and dimension specifications, a considerable amount of substantive input into the design of the

MK-48” at issue. 96 F.3d at 998 (emphases added). As the court explained, “[t]he Marine Corps



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needed the MK-48 to have two seventy-five gallon fuel tanks; the ability to ford through five feet

of water; the ability to restart a stalled engine while fording; the ability to fit into [a particular]

shipping container; and the ability to be transported externally by helicopter.” Id. at 999. “This

combination of specifications,” which included performance specifications, “cabined significantly

the placement of the exhaust system and the fuel tanks”—the allegedly defective design feature—

and for that reason those specifications satisfied the first element of Boyle. Id. (emphasis added).

The AFFF MilSpec’s requirements similarly combined to “cabin[] significantly” the

manufacturer’s choice of a suitable fluorocarbon surfactant. Id. Indeed, to this day, no qualified

MilSpec AFFF has been manufactured without fluorocarbon surfactants that may contain or

potentially degrade into either PFOS or PFOA.

       The circumstances here are also like those in Kase v. Metalclad Insulation Corp., which

concerned the Navy’s use of asbestos on submarines. 212 Cal. Rptr. 3d 198. The specification at

issue did not explicitly call for asbestos-containing insulation, so the plaintiff argued that his

injuries resulted from the contractor’s independent choice to use “stock” insulation that

“happen[ed] to” contain asbestos. Id. at 201, 207. The court rejected that argument, concluding

that the contractor was immune under the GCD because the Navy made a “deliberative design

choice” to issue a specification that “could only be met with, and thus required, asbestos-

containing insulation.” Id. at 213. In the present case, too, the particularized AFFF MilSpec

sufficiently constrained the contractor’s choice of a fluorocarbon surfactant such that Boyle’s first

element is met as a matter of law. Ayo v. 3M Co., 2018 WL 4781145, at *10 (E.D.N.Y. Sept. 30,

2018) (“[T]he government approves reasonably precise specifications when it, among other things,

issues performance requirements that significantly constrain the contractor’s design choices.”

(citing Oliver v. Oshkosh Truck Corp., 96 F.3d 992, 999 (7th Cir. 1996))). This is further



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underscored by the impossibility (as the MilSpec now expressly acknowledges) of formulating

MilSpec-compliant AFFF without “fluorocarbon surfactants” that may contain PFOS or PFOA, or

compounds that could degrade into either PFOS or PFOA. Accordingly, as a matter of law, the

MilSpec satisfies the first element of Boyle.

II.      Under Dowd, the government’s continued purchase and use of MilSpec AFFF also
         satisfies the first element of the GCD.

         The AFFF MilSpec also independently satisfies the first Boyle element as a matter of law

under the “continued use” doctrine, which the Fourth Circuit originated in Dowd and other courts

have endorsed numerous times. See Ramey, 874 F.2d at 950–51; Dowd, 792 F.2d at 411–12; see

also Lewis, 985 F.2d at 89 (when the government reordered the product at issue “[w]ith knowledge

of its alleged design defect, the Government approved reasonably precise specifications for that

product such that the manufacturer qualifies for the military contractor defense for any defects in

the design of that product”); In re Agent Orange Prod. Liab. Litig., 517 F.3d at 94–97; Brinson v.

Raytheon Co., 571 F.3d 1348, 1353 (11th Cir. 2009); Gauthreaux, 694 F. Supp. 2d at 467; Kase,

6 Cal. App. 5th at 641–42. As the Second Circuit explained in Agent Orange, “reordering the

same product with knowledge of its relevant defects plays the identical role in the defense as listing

specific ingredients, processes, or the like.” In re Agent Orange Prod. Liab. Litig., 517 F.3d at

94–95.

         The government has long been aware of the feature of MilSpec AFFF’s fluorocarbon

surfactant component that gives rise to Plaintiffs’ claims: namely, the presence of long-chain PFAS

that may either contain or break down to form PFOA or PFOS. In fact, due to the mission-critical

nature of MilSpec AFFF—and the essential role fluorocarbon surfactants play in making MilSpec

AFFF work—there has been virtually no time over the last sixty years when the government was

not studying MilSpec AFFF and/or its fluorocarbon surfactant components.


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       The government understood in the 1960s that MilSpec AFFF contained long-chain

fluorocarbon surfactants that were chemically related to PFOS/PFOA, including the Navy

identifying them as the preferred fluorosurfactants for AFFF in its 1963 patent application, and by

extensively researching and developing the product. CUF Section II. From the 1970s on, the

government thoroughly investigated MilSpec AFFF’s biodegradability, including fluorocarbon

surfactants’ relative persistence, expected environmental impact, and treatability. CUF Section

IV. Over the same period, the government also examined the toxicity of MilSpec AFFF generally

and PFOS and PFOA specifically, including by analyzing impacts on marine life, laboratory

animals, and humans. CUF Section IV.

       Even with all this knowledge, the government has never ceased specifying, purchasing,

and using MilSpec AFFF, determining that the military’s need for it continues to outweigh these

potential risks. As the then-MilSpec custodian Robert Darwin explained in 1995, “the fire safety

advantages of using foam are greater than the risks of potential environmental problems.” Ex. 95

at ’663; see also, e.g., Ex. 50 at 5 (1996 NRL report stating that “we will have to live with the fact

that a small part of the AFFF concentrate is non-biodegradable”); Ex. 24 at ’970 (2019 DoD

comment to Senate Armed Services Committee).

       Moreover, after 2000, when 3M announced it was exiting the AFFF market, multiple

government agencies, including DoD, further analyzed the potential hazards of PFOS and PFOA

that Plaintiffs allege in this litigation. By January 2009, all of the following events had already

occurred: (1) 3M had stopped manufacturing PFOS-containing MilSpec AFFF; (2) EPA had

declared PFOS to be persistent, bioaccumulative, and toxic; (3) EPA had characterized PFOA as

persistent, bioaccumulative, and toxic; (4) EPA’s PFOA Stewardship Program had committed

fluorochemical manufacturing companies to phase out PFOA production by 2015; (5) DoD’s



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Emerging Chemicals of Concern Governance Council had noted that both PFOS and PFOA were

present in MilSpec AFFF and in groundwater samples at certain DOD facilities; and (6) EPA had

established PHAs for PFOA and PFOS in drinking water at the parts-per-trillion level. CUF

Section IV.B.

       By that time at the very latest, therefore, there can be no dispute that the military had, by

any measure, the necessary relevant information about MilSpec AFFF, including its fluorocarbon

surfactant components, the presence of PFOS and/or PFOA in those components (both historically

and in current products), and the components’ potential human health and environmental hazards.

Yet, the military continued to make the discretionary decision to use PFOS-containing MilSpec

AFFF through at least 2018—when the military began phasing out PFOS-based AFFF at land-

based facilities. CUF Section V. The military also continued to purchase and use PFOA-

containing AFFF, and even today—more than a decade after 2009—the government still uses and

purchases MilSpec AFFF that contains some PFOA or chemicals that could degrade to PFOA.

CUF Section V.

       Comparing these facts to the leading cases on the “continuing use” doctrine, starting with

Dowd itself, demonstrates that the AFFF MilSpec more than satisfies this test for Boyle’s first

requirement. Dowd concerned a contract between the Army and the defendant, Bell, to design a

helicopter. 792 F.2d at 410. During a training flight, a phenomenon known as “mast bumping”

caused a fatal crash. Id. In response to plaintiffs’ allegations of defective design, Bell presented

evidence that the Army had investigated mast bumping several years after Bell originally designed

the rotor system. Id. at 410–11. Affirming the trial court’s grant of summary judgment to the

manufacturer, the Fourth Circuit held that “[t]he length and breadth of the Army’s experience with

the [] rotor system—and its decision to continue using it—amply establish government approval



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of the alleged design defects.” Id. at 412; see also Ramey, 874 F.2d at 950.

       Numerous other courts have followed the Fourth Circuit’s lead. For example, as to the

GCD, the Second Circuit’s decision in Agent Orange is directly on point. In that case, the

government had asked chemical manufacturers to produce an herbicide (Agent Orange) that was

used during the Vietnam War; Vietnam veterans subsequently sued the manufacturers, alleging

injuries from exposure to dioxin. 517 F.3d at 83. The plaintiffs argued that the manufacturers

could not establish the first Boyle element because the military specified that the product use a

chemical called 2,4,5-T but that in fact the product contained dioxin as an unintended byproduct

of the manufacturing process. Id. at 88–89. According to plaintiffs, defendants could have made

Agent Orange with dioxin-free 2,4,5-T that complied with the military’s specifications. Id. at 89,

92. So too here, where the AFFF MilSpec required “fluorocarbon surfactants” but Plaintiffs claim

that MilSpec AFFF is defective because it could have been made without particular fluorocarbon

surfactants—long-chain PFAS or other PFAS that may contain or degrade into PFOS or PFOA.

       The Second Circuit rejected the plaintiffs’ arguments because the government over time

had evaluated the alleged defect (dioxin in the product)—“examin[ing] its toxicity” and

“determin[ing] that it posed no unacceptable hazard,” id. at 95—and then continued to order Agent

Orange in an “exercise of [its] discretion.” Id. at 97. Based on those facts, the court held that, as

a matter of law, the first Boyle element had been met. Id. at 95. Likewise, in the present case, the

government repeatedly examined the toxicity and other potential risks of long-chain PFAS—

including PFOA and PFOS—that it knew were in MilSpec AFFF and made the discretionary

decision to continue ordering and using the product. As in Agent Orange, because the military

continued to use AFFF containing PFOS or PFOA (or fluorocarbon surfactants that may degrade

to those chemicals), the Court should not “‘second-guess’ the manufacturers’ decision to produce



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the agents in the manner that they did.” Id. at 95 (quoting Lewis, 985 F.2d at 89).

       Similarly, in Lewis v. Babcock Industries, the Second Circuit addressed whether the GCD

“protects a contractor from whom the Government purchased replacement parts with knowledge

of a design defect even if the Government had not previously approved specifications for the

product with knowledge of the defect during the design phase.” 985 F.2d at 84. Citing Dowd, the

court held that it did. Id. In that case, the military contracted with General Dynamics to design

the F-111 fighter jet. Id. After General Dynamics delivered the F–111 to the military, the Air

Force became aware of a risk of corrosion on certain cables produced by Babcock Industries. Id.

at 85. The Air Force completed an investigation of the problem and decided to reorder Babcock

cables to replace the existing ones. Id. The plaintiff suffered injuries when one of the Babcock

cables connecting the parachute system to his crew ejection module severed. Id. at 84.

       The Second Circuit held that, “when the Government reordered the specific Babcock cable,

with knowledge of its alleged design defect, the Government approved reasonably precise

specifications for that product such that the manufacturer qualifies for the military contractor

defense for any defects in the design of that product.” Id. at 89. The same reasoning applies to

the government’s repeated discretionary decision to continue using and to replenish its stores of

MilSpec AFFF, even understanding the product’s potential risks.

       In Brinson v. Raytheon Co., the Eleventh Circuit likewise affirmed summary judgment on

the GCD based on “post-design, post-production evidence as additional evidence to satisfy the

first prong of the Boyle test.” 571 F.3d at 1352, 1354–56. The contractor initially designed the T-

6A, a training aircraft, for the military using a design the military approved. Id. at 1352. After the

aircraft was in use, the military became “specifically aware of the design defect at issue,” namely

that certain flight control pushrods showed evidence of bending. Id. at 1355. Knowing this, the



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military simply ordered that the “pushrods be replaced with new but identical Teflon-lined

pushrods.” Id. In other words, the military decided to continue purchasing the precise pushrod

plaintiffs alleged to be defective. Relying in part on the Fourth Circuit’s decision in Dowd and the

Second Circuit’s decision in Lewis, the Eleventh Circuit held that “[w]hen faced with a potentially

failing or defective part, the military may make a discretionary decision concerning how to address

the problem.” Id. at 1353. If the government decides to keep using the product, courts should not

“second-guess” that decision by allowing tort suits to proceed against contractors. Id.

       The fundamental rule of law set forth in each of these cases—that Boyle’s first element is

satisfied by the government’s continued purchase or use of a product after the government knew

of or considered the potential or alleged hazards of that product—applies to MilSpec AFFF just as

much as or more than it applied to (1) the mast bumping in Dowd, (2) the dioxin in Agent Orange,

(3) the cables in Lewis, (4) the flight-control pushrods in Brinson, or (5) the products at issue in

the other cases applying this doctrine. See, e.g., Kase, 212 Cal. Rptr. 3d at 212–13 (“The Navy’s

continued requisition of asbestos containing products in the face of extensive study as to asbestos’s

protective attributes, on the one hand, and its serious health risks, on the other hand, cannot be

described as anything other than a deliberative judgment call—a quintessential discretionary

function.”); Gauthreaux, 694 F. Supp. 2d at 467.

       Plaintiffs have argued that Defendants’ position that PFOS and PFOA do not cause injuries

at the levels found in the environment somehow undermines the GCD.                   But Government

contractors need not confess liability or stipulate to a defect in their products to be eligible for the

GCD.     Rather, the GCD’s continuing use doctrine applies so long as the government has

investigated and become aware of the potential or alleged hazard that the plaintiff advances. That

is why in none of the cases discussed above did the defendant contractor admit that its product was



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defective or hazardous, and yet the courts granted summary judgment to defendants in all of them.

       For example, in Agent Orange, the district court held that defendants were entitled to the

GCD because, in part, the government was aware of the alleged human health hazards of the

product and concluded that the available scientific evidence did not support a finding that Agent

Orange actually caused disease. In re Agent Orange Prod. Liab. Litig., 304 F. Supp. 2d 404, 407

(E.D.N.Y. 2004). The key question is thus, assuming the feature in question creates a hazard or

defect, as plaintiffs allege, did the government know of that feature and the potential hazard it

poses, yet continue to purchase or use the product? Here, as in Agent Orange, Lewis, Brinson, and

other cases, the answer to that question is undeniably yes.

       In fact, notwithstanding the controversy surrounding PFAS and even the long pendency of

this litigation, just a few months ago, NRL’s Director of Fire Test Operations stated that MilSpec

AFFF remains the “gold standard agent” because of “its superior performance” and because “it’s

the best agent available to meet the fire protection needs” of the military. Ex. 18 (Farley Dep.)

161:23–162:3, 166:6–14.




                                             Thus, MilSpec AFFF is still a critical piece of the

military’s arsenal “to put out fires, save the lives of service men and women, and protect property”

on “military bases, airfields, and ships.” See Ex. 15 Resp. 8.

       Over the years, the federal government’s consideration of the potential risks and benefits

of MilSpec AFFF exemplifies its discretionary decision-making authority: Notwithstanding the



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alleged risks, the government has continued to use and/or purchase MilSpec AFFF containing

PFOS or PFOA given its unrivaled level of fire protection in service of the military’s personnel

and its critical missions. The government’s discretionary decision to continue purchasing and

using MilSpec AFFF after considering its potential hazards—even if (unlike here) there were no

written military specification—satisfies Boyle’s first element as a matter of law. See Oliver, 96

F.3d at 999 (affirming summary judgment on the GCD, holding that the “deliberate trade-off

between military mission requirements and safety concerns . . . is at the heart of the government

contractor defense”). The Court should reach the same result as in Agent Orange, Dowd, Lewis,

Brinson, and other cases and hold that Defendants meet the first element of Boyle as a matter of

law. “The length and breadth of the [government’s] experience with [MilSpec AFFF]—and its

decision to continue using it—amply establish government approval of the alleged design defects”

that are the basis for Plaintiffs’ claims in these cases. Dowd, 792 F.2d at 412.

                                         CONCLUSION

       Based on the two independent grounds set forth above, Defendants respectfully request

that this Court hold that the AFFF MilSpec meets the first element of Boyle as a matter of law.

               Respectfully submitted,

Dated: November 5, 2021

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                                  CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on November 5, 2021, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify the foregoing document is

being served this day on all counsel of record in this case via transmission of Notice of Electronic

Filing generated by CM/ECF.


                                              /s/ David E. Dukes
                                              David E. Dukes




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